           Case 5:17-cv-01216-CLS Document 25 Filed 08/23/17 Page 1 of 2              FILED
                                                                             2017 Aug-23 PM 05:19
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA

TROY WILLIAMS,

               Plaintiff,
                                          Case No. 5:17-cv-01216-HNJ
v.

CAPITAL ONE BANK (USA), et al.,

                       Defendants.


          DEFENDANT EQUIFAX INFORMATION SERVICES LLC’S
                CORPORATE DISCLOSURE STATEMENT

        Defendant Equifax Information Services LLC (“Equifax”), incorrectly

named as Equifax Information Services Inc., submits the following Corporate

Disclosure Statement:

        Equifax is a wholly-owned subsidiary of Equifax Inc., which is a publicly

traded company.

                                      /s/ Kirkland E. Reid
                                      Kirkland E. Reid (REIDK9451)
                                      Attorney for Equifax Information Services LLC


OF COUNSEL:
Jones Walker LLP
11 N. Water Street, Suite 1200
Mobile, AL 36602
Tel. (251) 432-1414 (main)
Fax (251) 439-7358
Email: kreid@joneswalker.com

{MB280436.1}
        Case 5:17-cv-01216-CLS Document 25 Filed 08/23/17 Page 2 of 2




                          CERTIFICATE OF SERVICE

       This is to certify that on August 23, 2017, I have this day electronically filed
a true and correct copy of the foregoing with the Clerk of the Court using the ECF
system, which will send notification of such filing to the following:

Joshua H Threadcraft
BURR & FORMAN LLP
420 North 20th Street
Suite 3400
Birmingham, AL 35203

And via U.S. Mail to:

Troy T. Williams
PO Box 464
Harvest, AL 35749

                                        /s/ Kirkland E. Reid
                                        Kirkland E. Reid




                                     {MB280436.1}-2-
